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  AU 245C         (Rev. 09/11) Amended Judgment in a Criminal Case
                                                                                                                             (NOTE: Identify Changes with Asterisks (*))
  vi              Sheet I


                                              UNITED STATES DISTRICT COURT
                                                            MIDDLE DISTRICT OF ALABAMA
            UNITED STATES OF AMERICA                                                    AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                          (WO)
                       V.
            RHASHEMA SHANTAE DERAMUS                                                    Case Number: 2:11 cr1 98-MEF-Ol
                                                                                        USM Number: 13768-002
Date of Original Judgment: 5/23/2013                                                    Bruce Maddox
(Or Date of Last Amended Judgment)                                                      Defendant's Attorney

Reason for Amendment:
    Correction of Sentence on Remand (18 U.S.C. 3742ffl(1) and (2))                     El Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
    Reduction of Sentence for Changed Circumstances (Fed. R. Crirn.                         Modification of Imposed TenTi of Imprisonment for Extraordinary and
    P. 35(b))                                                                              Compelling Reasons (18 U.S.C. § 3582(c)(1))
    Correction of Sentence by Sentencing Court (Fed, R. Crini. P. 35(a))                    Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                           to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
'Correction of Sentence for Clerical Mistake (Fed. R. Crirn. P. 36)
                                                                                        El Direct Motion to District Court Pursuant       28 U.S.C. § 2255 or
                                                                                                18 U.S.C. § 3559(c)(7)
                                                                                        VModification of Restitution Order (18 U.S.C. § 3664)

T UE DEFENDANT:
     pleaded guilty to count(s)          1,2-3, 18-19 and 34 of the Indictment
     pleaded nolo contendere to count(s)
     which was accepted by the court.
     was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                   Offense Ended                    Count
 18 USC § 641                          Public Money, Property or Records                                                  3/18/2011 *                     1
 18 USC §1029(a)(5); 2                 Fraud & Related Activities in connection with Access                               3/18/2011 *                     2-3
                                       Devices; Aiding & Abetting
 18 U5C §1028A(a)(1); 2                Aggravated Identify Theft; Aiding & Abetting                                       3/18/2011 *                     18-19


    See additional count(s) on page 2
      The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

E The defendant has been found not guilty on count(s)
   Count(s) 4-17, 20-33 of the Indictment                        Ll is     tare dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                 May 21, 2013
                                                                                 Date of Imposition oiJudgmen




                                                                                  Signature ofJu e


                                                                                 Mark E. Fuller, United States District Judge
                                                                                 Name of Judge                                        Title of Judge


                                                                                              L9      $p'                 29/3
                                                                                 Date
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AO 245C    (Rev. 09/11) Amended Judgment ina Criminal Case
vi         Sheet IA

                                                                                                     Judgment Page: 2 of 7
 DEFENDANT: RHASHEMA SHANTAE DERAMUS
 CASE NUMBER: 2:1 1cr198-MEF-01

                                         ADDITIONAL COUNTS OF CONVICTION
 Title & Section              Nature of Offense                                      Offense Ended            Count



 18 usc §1029(a)(3); 2          Fraud & Related Activity in connection with Access    3/18/2011 *                34

                                Devices; Aiding & Abetting
                     Case 2:11-cr-00198-MEF-WC Document 52 Filed 06/03/13 Page 3 of 7

AU 245C         (Rev. 09/I1) Amended Judgment in a Criminal Case
V1              Sheet 2— Imprisonment

                                                                                                                      Judgment Page: 3 of 7
     DEFENDANT: RHASHEMA SHANTAE DERAMUS
     CASE NUMBER: 2:1 1cr198-MEF-01


                                                                    IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      120 Months. This term consists of 72 months as to Counts 1-3 & 34, 24 months on Count 18 to be served consecutively to
      the term on Counts 1-3 & 34 and 24 months on Count 19 to be served consecutively to the terms in Counts 1-3, 18 & 34.




             The court makes the following recommendations to the Bureau of Prisons:

     That the defendant be designated to a facility where intensive residential substance abuse treatment is available and where
     vocational and educational training are available.



         E The defendant is remanded to the custody of the United States Marshal.

         E The defendant shall surrender to the United States Marshal for this district:

             E at ______________________                     a.m.     E p.m. on

                  as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                  before 2:00 PM on                       6/25/2013

                 as notified by the United States Marshal.

             El as notified by the Probation or Pretrial Services Office.



                                                                        RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                            to

     a                                                      with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL


                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL
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AU 245C           (Rev. 09/11) Amended Judgment in a Criminal Case
vi                Sheet 3—Supervised Release

                                                                                                                             Judgment Page: 4 of 7
 DEFENDANT: RHASHEMA SHANTAE DERAMUS
 CASE NUMBER: 2:1 1cr198-MEF-01
                                                               SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     3 Years. This term consists of 3 years on Counts 1-3 & 34 and 1 year on Counts 18 & 19, all such terms to be served
     concurrently.
              The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
     custody of the Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)

     iI     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.          (Check, applicable.)

     LI The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if apphcable.)
     E The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, elseq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

     LI The defendant shall participate in an approved program for domestic violence.          (Check, if applicable.)

             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
               The defendant must comply with the standard conditions that haie been adopted by this court as well as with any additional conditions
     on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court and the probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcenent officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall notif' third parties of risks that may be occasioned by the defendant's criminal
             record or ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirmthe
             defendant s compliance with such notification requirement.
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AO 245C        (Rev, 09/11) Amended Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release

                                                                                                           Judgment Page: 5 of 7
 DEFENDANT: RHASHEMA SHANTAE DERAMUS
 CASE NUMBER: 2:1 1cr198-MEF-01

                                            SPECIAL CONDITIONS OF SUPERVISION
     Defendant shall participate in a program of drug testing administered by the United States Probation Office for substance
     abuse which may include testing to determine whether you have reverted to the use of illegal drugs. Defendant shall
     contribute to the cost of any treatment based upon her ability to pay and the availability of third party payments.

     Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this Court.

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
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AO 245C          (Rev. 09/11) Amended Judgment in a Criminal Case
V1               Sheet 5—Criminal Monetary Penalties

                                                                                                                             Judgment Page: 6of7
     DEFENDANT: RHASHEMA SHANTAE DERAMUS
     CASE NUMBER: 2:1 1cr198-MEF-01
                                                  CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                             Fine                               Restitution
 TOTALS               $ 600.00                                              $                                    $ 1,198,063.00


     El The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case         (AO 245C) will   be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                           Total Loss*                 Restitution Ordered Priorit y or Percentage
      IRS-RACS
     Attn: Mail Stop 6261                                                                                    $1,198,063.00
      Restitution
     333 West Pershing Ave.
      Kansas City, MO 64108




TOTALS                                                                                       $0.00         $1,198,063.00


El       Restitution amount ordered pursuant to plea agreement $

E The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         E?f the interest requirement is waived for the              fine       V   restitution.

         E the interest requirement for the          El fine        LI restitution is modified as follows:



* Findings for the total annunt of losses are required under Charters 109A, 110, 11 0A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245C             (Rev. 09/11) Amended Judgment in a Criminal Case
V1                  Sheet 6— Schedule of Payments

                                                                                                                             Judgment Page: 7 of 7
 DEFENDANT: RHASHEMA SHANTAE DERAMUS
 CASE NUMBER: 2:1 1cr198-MEF-01


                                                             SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A             Lump sum payment of$ 1,198,663.00                       due immediately, balance due

                       not later than                                    , or
               E       in accordance LI C,                     D,      LI E, or          F below; or

 B             Payment to begin immediately (may be combined with                   C,          D, or       F below); or

 C             Payment in equal                       (e.g. weekly, monthly, quarterly) installments of $                            over a period of
                            (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

 0             Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                         over a period of
           -                 (e.g., months or years), to commence         -             (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E             Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     V       Special instructions regarding the payment of criminal monetary penalties:
                   All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
                   Office Box 711, Montgomery, Alabama 36101. Any balance remaining at the start of supervision shall be paid at the rate of
                   not less than $500.00 per month.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




* ( Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       *Rhashema Shantae Deramus 2:11cr198-MEF-01 Total: $1,198,663.00 JS as to Chiquita Smith $214,495.00;
         JS as to Angeline Austin $28,932.14; Payee: IRS
       *chiquita Smith               2:12cr 20-MHT-01 Total: $ 214,495.00 JS $214,495.00 Payee: IRS
       *Angeline Austin              2:12cr108-MHT-01 Total: $  28,932.14 JS $ 28,932.14   Payee: IRS
 E The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 E The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
